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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 20-61765-CIV-DIMITROULEAS

   RAYMOND T. MAHLBERG,

          Plaintiff,
   v.

   GUESS?, INC.,

         Defendant.
   ______________________________/

                           PLAINTIFF’S NOTICE OF SETTLEMENT


          Plaintiff, RAYMOND T. MAHLBERG, by and through undersigned counsel hereby

   files this Notice of Settlement to notify this Court that Plaintiff and Defendant have settled this

   matter. The Stipulation for Dismissal will be filed within 10 days.


          Respectfully submitted,

          Dated this 3rd day of November 2020.

                                                   s/Acacia Barros
                                                   Attorney for Plaintiff
                                                   ACACIA BARROS, P.A.
                                                   Acacia Barros, Esq.
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                                                   Miami, Florida 33176
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                                                   ab@barroslawfirm.com


                                        CERTIFICATE OF SERVICE

          I hereby certify that on this 3rd day of September that the foregoing document has been
   filed using  CM/ECF system and        will be served on Defendant’s counsel Kevin Young at
   kyoung@seyfarth.com.
                                                   s/Acacia Barros
                                                   Attorney for Plaintiff
                                                   ACACIA BARROS, P.A.
